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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

 PB LEGACY, INC, a Texas
 Corporation and TB FOODS
 USA, LLC,

            Plaintiffs,

 v.                                 Case No:   2:17-cv-9-JES-NPM

 AMERICAN MARICULTURE, INC.,
 a Florida corporation,
 AMERICAN PENAEID, INC., a
 Florida corporation, and
 ROBIN PEARL,

            Defendants/Third
            Party Plaintiff

 KENNETH GERVAIS and
 RANDALL AUNGST,

       Third Party Defendants.


                                    ORDER

       This matter comes before the Court on the plaintiff’s Motion

 Per Local Rule 4.11(b)1 for Permission for Designated Party to

 Enter With and Use Electronic Devises [sic] for Trial Commencing

 November 1, 2021 (Doc. #431) filed on October 29, 2021. Plaintiff

 seeks permission to bring certain electronic communication devices

 into the building for use at trial.        More specifically, Plaintiff

 is requesting permission for Mr. Richard Guin to bring a laptop

 computer, tablet, and/or smart phone.


       1The Court notes that there is no Local Rule 4.11 in the
 current Middle District of Florida Rules (2021).
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       On October 1, 2013, a General Order (6:13-mc-94-Orl-22, Doc.

 #1) was issued regarding the possession and use of personal

 electronic devices in the Middle District of Florida courthouses.

 See In Re: Possession & Use of Pers. Elec. Devices in Fed.

 Courthouses in the M.D. Fla., 6:13-mc-94-Orl-22.              The General

 Order allows counsel admitted to the Florida Bar or admitted pro

 hac vice to enter the Courthouse with personal electronic devices

 subject to the restrictions set forth in the General Order.             See

 also M.D. Fla. R. 7.02(a).     In addition to these devices, Plaintiff

 requests that Mr. Richard Guin, who will be providing technical

 support during the trial, be able to also bring a laptop, tablet

 and/or smart phone.

       The Court grants plaintiff’s request concerning Mr. Guin.

       Accordingly, it is hereby

       ORDERED:

       Plaintiff’s Motion Per Local Rule 4.11(b) for Permission for

 Designated Party to Enter With and Use Electronic Devises [sic]

 for Trial Commencing November 1, 2021 (Doc. #431) is GRANTED.

 Cellular telephones shall remain turned off while court is in

 session.




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       DONE and ORDERED at Fort Myers, Florida, this            29th     day

 of October 2021.




 Copies:
 Counsel of Record
 CSOs (2 copies)
 Automation Specialist




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